            Case 19-33746               Doc 2      Filed 11/27/19               Entered 11/27/19 11:04:25                 Desc Main
                                                      Document                  Page 1 of 5

 Fill in this information to identify your case:
 Debtor 1           Jacquetta             Y                         Thomas
                    First Name            Middle Name               Last Name                      Check if this is an amended plan, and list below
                                                                                                   the sections of the plan that have been
 Debtor 2
 (Spouse, if filing) First Name           Middle Name               Last Name                      changed.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)



Official Form 113
Chapter 13 Plan                                                                                                                                 12/17


 Part 1:        Notices

To Debtors:      This form sets out options that may be appropriate in some cases, but the presence of an option on the form
                 does not indicate that the option is appropriate in your circumstances or that it is permissible in your judicial
                 district. Plans that do not comply with local rules and judicial rulings may not be confirmable.

                 In the following notice to creditors, you must check each box that applies.

To Creditors:    Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                 You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not
                 have an attorney, you may wish to consult one.

                 If you oppose the plan's treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                 confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
                 Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy
                 Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.

                 The following matters may be of particular importance. Debtors must check one box on each line to state whether or not
                 the plan includes each of the following items. If an item is checked as "Not Included" or if both boxes are checked,
                 the provision will be ineffective if set out later in the plan.


 1.1    A limit on the amount of a secured claim, set out in Section 3.2, which may result in                      Included           Not included
        a partial payment or no payment at all to the secured creditor

 1.2    Avoidance of a judicial lien or nonpossessory, nonpurchase-money security                                  Included           Not included
        interest, set out in Section 3.4

 1.3    Nonstandard provisions, set out in Part 8                                                                  Included           Not included


 Part 2:        Plan Payments and Length of Plan

2.1    Debtor(s) will make regular payments to the trustee as follows:

                 $150.00          per         month        for           36        months

       If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make
       the payments to creditors specified in this plan.

2.2    Regular payments to the trustee will be made from future income in the following manner:

       Check all that apply.

            Debtor(s) will make payments pursuant to a payroll deduction order.

            Debtor(s) will make payments directly to the trustee.

            Other (specify method of payment):


Official Form 113                                                         Chapter 13 Plan                                                       page 1
           Case 19-33746              Doc 2        Filed 11/27/19             Entered 11/27/19 11:04:25                     Desc Main
                                                      Document                Page 2 of 5

Debtor:   Jacquetta Y Thomas                                                                        Case number:


2.3   Income tax refunds.

      Check one.

           Debtor(s) will retain any income tax refunds received during the plan term.

           Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the return
           and will turn over to the trustee all income tax refunds received during the plan term.

           Debtor(s) will treat income tax refunds as follows:

2.4   Additional payments.

      Check one.

           None. If "None" is checked, the rest of § 2.4 need not be completed or reproduced.

2.5   The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is                     $5,400.00


 Part 3:        Treatment of Secured Claims

3.1   Maintenance of payments and cure of default, if any.

      Check one.

           None. If "None" is checked, the rest of § 3.1 need not be completed or reproduced.
3.2   Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

           None. If "None" is checked, the rest of § 3.2 need not be completed or reproduced.

3.3   Secured claims excluded from 11 U.S.C. § 506.

      Check one.

           None. If "None" is checked, the rest of § 3.3 need not be completed or reproduced.

3.4   Lien avoidance.

      Check one.

           None. If "None" is checked, the rest of § 3.4 need not be completed or reproduced.

3.5   Surrender of collateral.

      Check one.

           None. If "None" is checked, the rest of § 3.5 need not be completed or reproduced.

           The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor's claim. The debtor(s) request that
           upon confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay under § 1301 be
           terminated in all respects. Any allowed unsecured claim resulting from the disposition of the collateral will be treated in Part 5 below.

Name of creditor                                                                   Collateral
Friendly Finance Corp                                                              2011 Nissan Altima

 Part 4:        Treatment of Fees and Priority Claims

4.1   General

      Trustee's fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
      without postpetition interest.

4.2   Trustee's fees

      Trustee's fees are governed by statute and may change during the course of the case but are estimated to be                4.5%        of plan
      payments; and during the plan term, they are estimated to total    $243.00        .




Official Form 113                                                       Chapter 13 Plan                                                             page 2
           Case 19-33746             Doc 2        Filed 11/27/19            Entered 11/27/19 11:04:25                    Desc Main
                                                     Document               Page 3 of 5

Debtor:   Jacquetta Y Thomas                                                                     Case number:


4.3   Attorney's fees

      The balance of the fees owed to the attorney for the debtor(s) is estimated to be       $4,430.00       .

4.4   Priority claims other than attorney's fees and those treated in § 4.5.

      Check one.

           None. If "None" is checked, the rest of § 4.4 need not be completed or reproduced.
4.5   Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

      Check one.

           None. If "None" is checked, the rest of § 4.5 need not be completed or reproduced.


 Part 5:      Treatment of Nonpriority Unsecured Claims

5.1   Nonpriority unsecured claims not separately classified.

      Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
      providing the largest payment will be effective. Check all that apply.

           The sum of

              15.36%      of the total amount of these claims, an estimated payment of         $727.00
           The funds remaining after disbursements have been made to all other creditors provided for in this plan.

      If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately     $0.00
      Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2   Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

           None. If "None" is checked, the rest of § 5.2 need not be completed or reproduced.

5.3   Other separately classified nonpriority unsecured claims. Check one.

           None. If "None" is checked, the rest of § 5.3 need not be completed or reproduced.

 Part 6:      Executory Contracts and Unexpired Leases

6.1   The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other
      executory contracts and unexpired leases are rejected. Check one.

           None. If "None" is checked, the rest of § 6.1 need not be completed or reproduced.

 Part 7:      Vesting of Property of the Estate

7.1   Property of the estate will vest in the debtor(s) upon

      Check the applicable box:

           plan confirmation.

           entry of discharge.

           other:

 Part 8:      Nonstandard Plan Provisions

8.1   Check "None" or List Nonstandard Plan Provisions

           None. If "None" is checked, the rest of Part 8 need not be completed or reproduced.




Official Form 113                                                     Chapter 13 Plan                                                         page 3
             Case 19-33746              Doc 2     Filed 11/27/19            Entered 11/27/19 11:04:25                   Desc Main
                                                     Document               Page 4 of 5

Debtor:     Jacquetta Y Thomas                                                                   Case number:



 Part 9:         Signatures:

9.1      Signatures of Debtor(s) and Debtor(s)' Attorney

If the Debtor(s) do not have an attorney, the Debtor(s) must sign below; otherwise the Debtor(s) signatures are optional. The attorney for the
Debtor(s), if any, must sign below.



X     /s/ Jacquetta Y Thomas                                            X
      Signature of Debtor 1                                                 Signature of Debtor 2

      Executed on 11/27/2019                                                Executed on
                  MM / DD / YYYY                                                          MM / DD / YYYY


X     /s/ Claudia F. Badillo                                            Date 11/27/2019
      Signature of Attorney for Debtor(s)                                    MM / DD / YYYY

By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) also certify(ies) that the
wording and order of the provisions in this Chapter 13 plan are identical to those contained in Official Form 113, other than any
nonstandard provisions included in Part 8.




Official Form 113                                                     Chapter 13 Plan                                                        page 4
          Case 19-33746               Doc 2        Filed 11/27/19            Entered 11/27/19 11:04:25                  Desc Main
                                                      Document               Page 5 of 5

Debtor:   Jacquetta Y Thomas                                                                     Case number:



Exhibit: Total Amount of Estimated Trustee Payments
     The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the
     amounts set out below and the actual plan terms, the plan terms control.


a.   Maintenance and cure payments on secured claims (Part 3, Section 3.1 total)                                                $0.00
b.   Modified secured claims (Part 3, Section 3.2 total)                                                                        $0.00
c.   Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total)                                                   $0.00
d.   Judicial liens or security interests partially avoided (Part 3, Section 3.4 total)                                         $0.00
e.   Fees and priority claims (Part 4 total)                                                                               $4,673.00
f.   Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount)                                               $727.00
g.   Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)                                              $0.00
h.   Separately classified unsecured claims (Part 5, Section 5.3 total)                                                         $0.00
i.   Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)                                   $0.00
j.   Nonstandard payments. (Part 8, total)                                                                                      $0.00
                                                                                                            +
     Total of lines a through j                                                                                            $5,400.00




Official Form 113                                                 Chapter 13 Plan - Exhibit                                             page 1
